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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 IN RE RANBAXY GENERIC DRUG
 APPLICATION ANTITRUST LITIGATION
                                                          MDL No. 19-md-02878-NMG
 THIS DOCUMENT RELATES TO:

 All Actions


         DEFENDANTS’ MOTION TO MODIFY THE JANUARY 12, 2022
      MEMORANDUM & ORDER REGARDING ALLOCATION OF TRIAL TIME

       Pursuant to Local Rule 7.1, Defendants Ranbaxy, Inc. and Sun Pharmaceutical Industries

Ltd. (collectively, “Ranbaxy”), hereby move this Honorable Court to modify its Memorandum &

Order dated January 12, 2022. See ECF No. 536. Ranbaxy respectfully asks the Court to consider

the simultaneously filed Memorandum of Law opposing Plaintiffs’ motion for a disproportionate

allocation of trial time, see ECF No. 533, and modify the January 12, 2022 Memorandum & Order

to allocate trial time evenly between the parties.

       Ranbaxy understood the Court’s remarks during the December 21, 2021 status conference

to ensure that if Plaintiffs moved for a disproportionate allocation of trial time, Ranbaxy would be

given an opportunity to respond. See Ex. 1, Dec. 21, 2021 Tr. at 12:17-21 (“If the plaintiffs believe

that they are entitled to more than 50 percent of the time allotted, I will consider a memorandum

to that effect of five pages or less on that subject matter, and of course allow the defendants to

respond.”) (emphasis added). Ranbaxy further understood that if Plaintiffs made such a motion,

Ranbaxy’s response would be due within one week. The Court explained:

       [I]f the plaintiffs want to argue about time, and specifically about the allocation of
       time between plaintiffs and defendants, they should be prepared to do so within the
       next couple of weeks. And then I’ll give the defendants a week, or so, to respond
       to that short memorandum on the subject of allotment of time for trial.

Id. at 12:22-13:3 (emphasis added).
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        The Court also invited the parties to file submissions by January 7, 2022, but Ranbaxy

understood the Court to be inviting the parties to address two different topics, namely, (1) the date

of trial, and (2) the overall trial time limit. See id. at 34:15-35:9. With regard to those optional

submissions, the Court explained to the parties that “[i]f you’re going to make any comments about

when this trial is going to occur or how long it’s going to be, I want to hear about it by the 7th of

January.” Id. at 35:6-9. Ranbaxy did not understand the January 7 deadline to apply to Plaintiffs’

motion for a disproportionate allocation of trial time. Nor did Ranbaxy understand the Court to be

calling for simultaneous submissions regarding the allocation of trial time, which would have

contradicted the Court’s earlier, explicit instruction that Ranbaxy would have approximately one

week to respond to any motion by Plaintiffs for a disproportionate allocation of trial time. And,

as a practical matter, it would have been difficult for Ranbaxy to prepare an opposition to a motion

that Plaintiffs had not yet filed.

        Because Ranbaxy reasonably relied on the Court’s statements during the December 21,

2021 status conference, Ranbaxy was planning to submit a Memorandum of Law in opposition to

Plaintiffs’ motion by close of business tomorrow, January 14, i.e., one week after Plaintiffs filed

their motion. See ECF No. 533. Ranbaxy is filing that Memorandum of Law, slightly modified

in light of the Court’s intervening order, simultaneously with this motion.

        Ranbaxy respectfully asks the Court to consider the arguments set forth in Ranbaxy’s

Memorandum of Law. As explained in Ranbaxy’s Memorandum, limiting Ranbaxy to anything

less than 50% of the trial time would cause severe prejudice in a case where the stakes could not

be higher. Plaintiffs are seeking tens of billions of dollars in damages, and Ranbaxy’s defense will

be every bit as complicated and time-consuming to present to the jury as Plaintiffs’ affirmative

case. To ensure fundamental fairness, an equal division of trial time is imperative. Ranbaxy thus




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respectfully asks the Court to modify its January 12, 2022 Memorandum & Order and allocate trial

time evenly between Plaintiffs and Ranbaxy. Assuming the Court limits the trial to 63 hours total,

see ECF No. 536 at 2, Ranbaxy asks that each side be given 31.5 hours.

       WHEREFORE, for the reasons set forth in the accompanying Memorandum of Law,

Ranbaxy respectfully asks the Court to modify its Memorandum & Order dated January 12, 2022

and to allocate 31.5 hours of trial time to Plaintiffs and 31.5 hours of trial time to Ranbaxy. 1




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    Ranbaxy hereby certifies under Local Rule 7.1 that the parties previously conferred regarding
    the initial submission but were unable to resolve or narrow the issues.


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Dated: January 13, 2022            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Devora W. Allon, certify that, on this date, the foregoing was filed electronically via

the Court’s CM/ECF system, which will send notice of the filing to all counsel of record, and

parties may access the filing through the Court’s system.

Dated: January 13, 2022                                              /s/ Devora W. Allon
                                                                     Devora W. Allon




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